                           UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                          CIVIL STANDARD MINUTES

     11/13/2204
Date ________________________________                      3:24-cv-00239-SRU
                                                    Case #_______________________________________________
                                                                     Stefan R. Underhill
                                                     Honorable Judge ______________________________________
        STATE OF CONNECTICUT
______________________________________                            J. Reis
                                                     Deputy Clerk _________________________________________
                     Vs.                                                Christopher Kelly & Matthew Levine
                                                     Counsel for Pla(s) _____________________________________
             EIDP, INC. et al
________________________________________                                 J. Regan, S. Mamillapalli, J. Glasser, L. Goldman, Z. Tyree
                                                     Counsel for Dft(s) _____________________________________
Start Time__________         11:13 AM
          10:02 AM End Time ____________                                      Cassie Zayas
                                                     Reporter/ECRO/Courtsmart _____________________________
Recess (if more than ½ hr) ________ to _________                NA
                                                     Interpreter______________________          NA
                                                                                       Language ____________
              1
Total Time ________hour(s)    11
                           ________minute(s)                       ✔ in person
                                                     Hearing held                         by video         by telephone



HEARING AND TIME
 տ Motion/Oral Argument     ____     ‫ ܆‬Show Cause Hearing             ____     տ Evidentiary Hearing                    ____
 տ Judgment Debtor Exam     ____     տ Pretrial Conference           ____      տ Scheduling Conference                  ____
 տ Status Conference        ____     տ Settlement Conference         ____      տ Other: ________________                 ____

MOTIONS
            to Remand to State Court (doc. 41)
տ Motion _________________________________filed    by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ Brief(s) due ________________ տ Proposed Findings due ________________ Response due _______________
տ Status report due ___________________________
տ Hearing continued until _________________ at _______________

NOTES




Rev. 3/21/24
